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 7
                                                                           The Honorable Richard Jones
 8
                               UNITED STATES DISTRICT COURT
 9                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
10
      GENE PALMER,                                          NO. 2:19-cv-00961-RAJ
11
                 Plaintiff,
12
         v.                                                 EMERGENCY MOTION FOR
13                                                          ORDER PROHIBITING CONTACT
      TIENNEY MILNOR, HER HUSBAND                           AND THREATENING CONDUCT
14    AND THEIR MARITAL
      COMMUNITY, MELANIE                                    NOTE ON MOTION CALENDAR:
15    TRATNIK, HER HUSBAND AND
      THEIR MARITAL COMMUNITY,                                            JULY 1, 2021
16    STATE OF WASHINGTON, OFFICE
      OF ATTORNEY GENERAL,
17    DEPARTMENT OF LABOR AND                                  ORAL ARGUMENT REQUESTED
      INDUSTRIES, LABORERS'
18    INTERNATIONAL UNION OF
      NORTH AMERICA LOCAL 292,
19    AND DISTRICT COUNCIL OF
      LABORERS WASHINGTON AND
20    NORTHERN IDAHO,
21               Defendants.
22

23            Defendants Francis Leaman, Tienney Milnor, Melanie Tratnik, Washington State Office

24   of the Attorney General, and Washington State Department of Labor and Industries (hereafter

25   “State Defendants”), by and through their attorney, Gauri Shrotriya Locker, Assistant Attorney

26   General, hereby file this Motion to request that the Court direct the plaintiff, Gene Palmer, to limit


       EMERGENCY MOTION FOR ORDER                          1                ATTORNEY GENERAL OF WASHINGTON
                                                                                         Torts Division
       PROHIBITING CONTACT AND                                                   800 Fifth Avenue, Suite 2000
       THREATENING CONDUCT                                                         Seattle, WA 98104-3188
                                                                                        (206) 464-7352
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 1   communications to the undersigned counsel, to immediately cease contact with individually-
 2   named defendants, and to immediately cease the threatening conduct outlined below.
 3           At the very onset of this case, defense counsel told Mr. Palmer to direct any
 4   communications related to the above-referenced defendants to her, given that she had appeared
 5   and represented them. See Subjoined Declaration of Gauri Locker, ¶ 2.
 6           However, on June 30, 2021, Mr. Palmer contacted Defendant Francis Leaman directly,
 7   and advised that, inter alia: (1) he was related to a federal judge who ordered that Defendants pay
 8   him the funds demanded in Palmer’s Complaint filed in this case; (2) that he intended to “beat
 9   up” Defendant Assistant Attorney General Tienney Milnor; (3) that he had family that worked in
10   the federal court system who was assisting him with looking up addresses and contact info for
11   individually-named defendants; (4) that he has served prison time for murder; (5) that he intended
12   to “beat up” and kill Seattle Mayor Jenny Durkan’s wife; and (6) that he was “coming for”
13   Defendant Leaman and that Defendant Leaman should be scared. Id. at ¶ 3.
14           It is frankly unknown whether Mr. Palmer will actually engage in dangerous, even life-
15   threatening behavior but, in any event, his outrageous conduct cannot be tolerated. Not only is it
16   inappropriate for Mr. Palmer to be contacting represented parties but, it is even more inappropriate
17   for him to harass and threaten them. Intimidating and threatening tactics simply have no place in
18   litigation.
19           Although defense counsel and State Defendants are pursuing appropriate action through
20   other avenues, and have notified Mayor Durkan’s office about the threat, State Defendants hereby
21   request that the Court directly and specifically order Mr. Palmer to immediately cease all contact
22   of all types with the individually-named defendants, whether directly, indirectly or through others,
23   including but not limited to telephone, email, and other electronic means. The Court should
24   further order that Mr. Palmer may not cause, attempt, or threaten to cause bodily injury to,
25   assault, harass, stalk, or keep under surveillance the named defendants, nor to knowingly enter,
26   remain, or come within their residences or workplaces.


       EMERGENCY MOTION FOR ORDER                         2               ATTORNEY GENERAL OF WASHINGTON
                                                                                       Torts Division
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 1           To the extent that Mr. Palmer has a legitimate need to interact with the individually-named
 2   defendants, he should be required to do so through the undersigned counsel, and in no other
 3   manner. See, e.g., RPC 4.2 (prohibiting direct contact with represented parties). Mr. Palmer
 4   should be further advised that any effort to contact the named defendants in any way other than
 5   through the undersigned counsel will be grounds for contempt of court, and may subject him to
 6   arrest and confinement.
 7

 8           DATED this 1st day of July, 2021
 9
                                                   ROBERT W. FERGUSON
10                                                 Attorney General
11                                                 _____s/Gauri Shrotriya Locker______________
                                                   GAURI SHROTRIYA LOCKER, WSBA No. 39022
12                                                 Assistant Attorney General
                                                   Office of the Attorney General
13                                                 800 Fifth Avenue Ste 2000
                                                   Seattle, WA 98104
14                                                 gauri.locker@atg.wa.gov
15

16
                  SUBJOINED DECLARATION OF GAURI SHROTRIYA LOCKER
17

18   I, Gauri Shrotriya Locker, declare and state as follows:

19           1.      I am an adult, am competent to testify, I am the Assistant Attorney General
20   representing defendants Francis Leaman, Tienney Milnor, Melanie Tratnik, the State of
21
     Washington Office of the Attorney General, and the State of Washington Department of Labor and
22
     Industries (“State Defendants”) in this matter, and have personal knowledge of the facts contained
23
     in this declaration.
24

25           2.      Early on in this case, during one of my initial telephone calls with Mr. Palmer, I told

26   Mr. Palmer to direct any communications related to defendants that I represented to me.


       EMERGENCY MOTION FOR ORDER                         3                ATTORNEY GENERAL OF WASHINGTON
                                                                                        Torts Division
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 1          3.      My client, Defendant Francis Leaman, advised me that yesterday, June 30, 2021,
 2
     Mr. Palmer contacted him directly at work, and advised that, inter alia: (1) he was related to a
 3
     federal judge who ordered that the defendants in this lawsuit pay him the funds he claims to be
 4
     owed in our lawsuit; (2) that he intended to “beat up” Defendant Assistant Attorney General
 5
     Tienney Milnor; (3) that he had family that worked in the federal court system who was assisting
 6

 7   him with looking up addresses and contact info for individually-named defendants; (4) that he has

 8   served prison time for murder; (5) that he intended to “beat up” and kill Seattle Mayor Jenny
 9   Durkan’s wife; and (6) that he was “coming for” Mr. Leaman and that he should be scared.
10
            4.      The threats outlined above are also being handled separately. Law enforcement has
11
     been notified, as well as Mayor Durkan’s office.
12
            I declare under penalty of perjury under the laws of the State of Washington that the
13

14   foregoing subjoined declaration is true and correct.

15          Dated this 1st day of July, 2021 at Shoreline, Washington.

16                                         _____s/Gauri Shrotriya Locker______________
                                           GAURI SHROTRIYA LOCKER, WSBA No. 39022
17                                         Assistant Attorney General
                                           Office of the Attorney General
18                                         800 Fifth Avenue Ste 2000
                                           Seattle, WA 98104
19                                         gauri.locker@atg.wa.gov

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       EMERGENCY MOTION FOR ORDER                       4                ATTORNEY GENERAL OF WASHINGTON
                                                                                      Torts Division
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 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that I caused a copy of this document to be served on all parties or their

 3   counsel of record on 1st day of July 2021 as follows:

 4          Noel McMurtray                        E-Mail (CM/ECF)
 5          PO Box 3324
            Bellevue, WA 98009
 6          206-419-3873
            Email: NMcMurtray@outlook.com
 7          Attorney for Defendant Washington and Northern Idaho District Council of Laborers
 8

 9          Katherine H. Bosch
            Kelsey O’Neal
10          Snohomish County Prosecuting Attorney
            Civil Division
11          3000 Rockefeller Avenue
            Everett, WA 98201-4046
12          katherine.bosch@co.snohmoish.wa.us
13          koneal@snoco.org
            Attorneys for Defendant Snohomish County
14

15          Gene Palmer                               United States Mail Postage Pre-paid
            101 S. Pearl Street #103
16
            Ellensburg, WA 98926
17          206-335-7337

18

19                                              ROBERT W. FERGUSON
                                                Attorney General
20

21                                              /s/ Gauri S. Locker
                                                GAURI S. LOCKER, WSBA No. 39022
22                                              Assistant Attorney General
                                                Office of the Attorney General – Torts Division
23                                              800 Fifth Avenue, Suite 2000
                                                Seattle, WA 98104-3188
24                                              Telephone: (206) 464-7352
                                                gauri.locker@atg.wa.gov
25

26


       EMERGENCY MOTION FOR ORDER                      5                ATTORNEY GENERAL OF WASHINGTON
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